             Case 8:19-cr-00047-JLS Document 5 Filed 03/04/19 Page 1 of 1 Page ID #:25




                                        UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA

                                                              CASE NUMBER:
UNITED STATES OF AMERICA
                                                  PLAINTIFF       ~~i % ~ "' /3~ / ~ ~
                 V.

/3~'"~4L~ sT~~'ti~~J             l c~o~,G/.'1                        REPORT COMMENCING CRIMINAL

USMS#                                            DEFENDANT
                                                                                     ACTIN
                                                                                        ~          c~
                                                                                                 ~r~,      ~,
                                                                                                           o
                                                                                                 F, ;.,;


TO: CLERK'S OFFICE, U.S. DISTRICT COURT                                                 'Nu,:=~.y.;_-      a
                                                                                                           ~
                                                                                          =,:                   -~
                                                                                                           '
                                                                                                           ~    ~"
All areas must be completed. Any area not applicable or unknown should indicate "N/A"             :
                                                                                            r=             ~
                                                                                                           q    C
 1• Date and time of arrest:   ~/3~/~              C/~.'yam ~;ry? ~          ~~ AM [ P131'r-;==~
                                                                                          n
                                                                                              r ~~a
2. The above named defendant is currently hospitalized and cannot be transported to co •t for"'sai~tnent or
    any other preliminary proceeding:    ~ Yes      ~No

3. Defendant is in U.S. Marshals Service lock-up (in this court building):      'Yes    ❑ No

4. Charges under which defendant has been booked:
                        OF/'y9A~~ /,3~J/C.,o/Nfr ~~TN ~X~'~,~~ivF vEyi~.~


5. Offense charged is a:       Felony      ❑Minor Offense          ~ Petty Offense      ❑Other Misdemeanor

6. Interpreter Required: ~No         ❑Yes         Language:

7• Year of Birth: ~ ~~

8. Defendant has retained counsel:       ~No
    ❑ Yes      Name:                                                 Phone Number:


9• Name of Pretrial Services Officer notified:    v ~~%Y

10. Remarks (if any):


1 1. Name:                                              (please print)

12. Office Phone Number:~~              c3`~ ~3~.~                       13. Agency:   ~~

14. Signature: -~
                ~ ~~Y,.4~                                                15• Date:      3/y /~ ~I


CR-64(05/18)                             REPORT COMMENCING CRIMINAL ACTION
